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                                       U.S. D.C. S.D. of TX/Houston Division (2:10-cv-02771)
    1          5/13/2010   Complaint and Petition for Exoneration From of Limitation of Liability (Ex. 1-4)                  2:10-cv-02771
   7           5/13/2010   Notice of Complaint and Petition for Exoneration From or Limitation of Liability                  2:10-cv-02771
   8           5/13/2010   Order Approving Ad Interim Stipulation                                                            2:10-cv-02771
   9           5/13/2010   Order Directing Claimants to File and Make Proof of Claims, etc.                                  2:10-cv-02771
   10          5/13/2010   Monition                                                                                          2:10-cv-02771
   14          5/17/2010   Petitioners' Notice in Aid of the Court's Jurisdiction and Concursus                              2:10-cv-02771

                           Exhibit A to Petitioners' Notice in Aid of the Court's Jurisdiction and Concursus - Notice of
   11          5/7/2010                                                                                                        10-cv-176
                           Filing by Transocean Docket No. 11 in Southern District of Mississippi action

                           Exhibit B to Petitioners' Notice in Aid of the Court's Jurisdiction and Concursus - Motion for
   12          5/14/2010   Emergency Relief to Declare Transocean's Notice of Filing to be Null and Void by Cajun              10-cv-176
                           Maid, LLC, Docket No. 12 in Southern District of Mississippi action
                           Exhibit B to Petitioners' Notice in Aid of the Court's Jurisdiction and Concursus -
                           Memorandum in Support of Motion for Emergency Relief to Declare Transocean's Notice of
   13          5/14/2010                                                                                                       10-cv-176
                           Filing to be Null and Void by Cajun Maid, LLC, Docket No. 13 in Southern District of
                           Mississippi action
   15          5/17/2010   Motion to Clarify or Modify Injunction and Supporting Brief (Ex. 1)                               2:10-cv-02771
   31          5/19/2010   Opposed Motion to Dismiss and/or Transfer (Ex. 1)                                                 2:10-cv-02771
   32          5/19/2010   Memorandum of Law in Support of Opposed Motion to Dismiss and/or Transfer                         2:10-cv-02771
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   61          5/26/2010   First Amended Order Directing Claimants to File and Make Proof of Claims etc                      2:10-cv-02771
   84           6/1/2010   Petitioners' Brief in Opposition to Further Modification of the Court's Injunction Order          2:10-cv-02771
   88           6/1/2010   Opposed Motion of The U.S. to Lift or Modify the Court's Amended Monition (Ex. 1-2)               2:10-cv-02771
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  105          6/3/2010    Memorandum of Law in support of Motion to Dismiss and/or to Modify or Lift Stay                   2:10-cv-02771
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                           Amended Monition etc.
                           Letter Agreement re: Opposed Motion of the United States, Appearing Specially and Not
  130          6/11/2010   Generally, to Lift or Modify the Court's Amended Monition as to Certain Claims and Causes of      2:10-cv-02771
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  131          6/14/2010   Second Amended Order Directing Claimants to File and Make Proof of Claims                         2:10-cv-02771
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  134          6/16/2010                                                                                                     2:10-cv-02771
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